Case 1:23-cv-03721-SCJ Document 1-173 Filed 08/21/23 Page 1 of 5




                 EXHIBIT B-161
    Case 1:23-cv-03721-SCJ Document 1-173 Filed 08/21/23 Page 2 of 5

                                                                                  FILED IN OFFICE


              IN THE SUPERIOR COURT OF FULTON COUNTY

                                   STATEOF GEORGIA


        IN RE: SPECIALPURPOSEGRAND                          Case No. 2022-EX-000024
        JURY                                                Judge Robert C.I. McBurney



           VERIFIED APPLICATIONFORPRO HAC VICE ADMISSION
        Pursuantto GeorgiaUnifonnSuperiorCourtRule4.4, l, HarrisFischman(Applicant),

herebyapplyto this HonorableCourtfor admissionto practicein the above-styledcasepro hac vice.

In supportof this application,Applicantstatesas follows:

   l.



  2.      My businessaddressis:
          Paul, Weiss,Rifkind,Wharton& GarrisonLLP
          12856th Ave
          New York,New York 10019
          USA
          Phone:212-373-3306
          hfisclunan@paulweiss.com
  3.      I have been retainedto representthe followingclient(s):
          DonaldAyer,John Farmer,StuartGerson,TanyaMiller.J. Tom Morgan,SarahSaldafta,
          WilHamF. Weld,and ShanWu
          c/o Brian S. Kammer
          241 ELakeDr
          Decatur.GA 30030
          Tel: (678) 235-4964
  4.      I am a memberin goodstandingof the followingjurisdictions:
          Jurisdiction:U.S. Courtof FederalClaims
          Date Admitted:06/22/2022
          Still Admitted: Yes
          Bar/RegistrationNo.: NIA
          Jurisdiction:U.S.Court of Appeals,SecondCircuit
          Date Admitted:04/13/2010
      Case 1:23-cv-03721-SCJ Document 1-173 Filed 08/21/23 Page 3 of 5




        Still Admitted: Yes
        Bar/Registration No.: NIA

        Jurisdiction: U.S. District Court, Eastern District of New York
        Date Admitted: 12/04/2007
        Still Admitted: Yes
        Bar/Registration No.: HF9820

        Jurisdiction: U.S. District Court, Southern District ofN ew York
        Date Admitted: 12/04/2007
        Still Admitted: Yes
        Bar/Registration No.: HF9820

        Jurisdiction: New York, 3rd Department
        Date Admitted: 01/25/2006
        Still Admitted: Yes
        Bar/Registration No.: 4380598

5.      I have never been a member of the State Bar of Georgia.

6.      I have never been denied pro hac vice admission in Georgia.

7.      I have never had pro hac vice admission revoked in Georgia.

8.      I have never been sanctioned or formally disciplined by a court in Georgia.

9.      I have never been the subject of any formal disciplinary proceedings.

10.     I have never been formally held in contempt, or otherwise sanctioned by a court in a
        written order, for disobedience to its rules or orders.

11.     In the past two years I have not filed for pro hac vice admission in Georgia.

12.     I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all
        court rules relevant to practice before the court in which I am seeking admission.

13.     My local sponsor is:

        Brian S. Kammer
        Bar No. 406322
        241 E Lake Dr Decatur, GA 30030
        Tel: (678) 235-4964

14.     When I file my application I will forward a copy to the State Bar of Georgia along with a
        check or money order made payable to the State Bar of Georgia in the amount of $275, as
        this is my first application filed for this calendar year.
      Case 1:23-cv-03721-SCJ Document 1-173 Filed 08/21/23 Page 4 of 5




      I, Harris Fischman, applicant in the foregoing Verified Application for Pro Hae Vice
Admission, hereby verify the facts contained therein are true and accurate to the best of my
knowledge.




                                 Thbti,2023

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                                                          )/4m5
        Applicant Sworn to before me this      / i,j" day of May, 2023


                         /Vt;v     loJLk )
                                         J ss. Notary Public
                        fVr;-5?C-JftrS7ISL )    My commission expires                 2 - '1- 2-

                                                                       TrevorJ.Hill
                                                             NotaryPublic, State of New York
                                                                      No. 01Hl6181594
                                                             Oualifled in Westchester County
                                                            Certificate Filed In New York Gou~
                                                             Commission Expires 02/04/20_:.t..."f
     Case 1:23-cv-03721-SCJ Document 1-173 Filed 08/21/23 Page 5 of 5




            IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA


  INRE:                                                 Case No. 2022-EX-000024
  SPECIAL PURPOSE GRAND JURY


                         CERTIFICATE OF SERVICE

      This is to certify that I have caused a true and correct copy of the foregoing

document to be served via electronic mail to the following counsel of the parties:


      Jennifer L. Little                     Kieran J. Shanahan
      Jennifer Little Law, LLC               Shanahan Law Group, PLLC
      Jlittle@jllaw.com                      kieran@shanahanlawgroup.com

      Drew Findling                          Fani T. Willis
      Marissa Goldberg                       Will Wooten
      Findling Law Firm                      Office of the District Attorney
      drew@findlinglawfirm.com               Fani. willisda@fultoncountyga.gov
      marissa@findlinglawfirm.com            Will. wooten@fultoncountyga.gov



      This 22nd day of May 2023.


                                                                      Brian Kammer
                                                                Ga. Bar No. 406322
                                                                      241 E Lake Dr
                                                                Decatur, GA 30030
                                                                Tel: (678) 235-4964
                                                          attybkammer@gmail.com
